OFFICE OF THE MONITOR
NUNEZ, ET AL. V. CITY OF NEW YORK, ET AL.                                                       Steve J. Martin
                                                                                                        Monitor

                                                                                             Anna E. Friedberg
                                                                                                Deputy Monitor

                                                                   1+1 646 895 6567 | afriedberg@tillidgroup.com



                                                                                     January 12, 2024

VIA ECF
The Honorable Chief Judge Laura T. Swain
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10006


Re: Nunez, et al. v. City of New York, et al., 11-cv-5845 (LTS)

Dear Chief Judge Swain,

       We write to provide the Court with notice that Commissioner Lynelle Maginley-Liddie

advised the Monitoring Team that City Council Bill 549-A had been passed by the City Council

on December 20, 2023. Given its effect on the Department’s operation and management, the

Commissioner requested that the Monitor advise and provide feedback to the Department on the

potential impact of this bill on the Department’s ability to address the dangerous conditions

extant in the jails, implement initiatives consistent with sound correctional practice, and comply

with the requirements of the Nunez Court Orders.

       The Commissioner’s request was made pursuant to the Consent Judgment, § XX, ¶¶ 24

and 25 and the June 13, 2023 Order, § I, ¶5. Combined, these provisions: (1) permit the

Department to request the Monitor provide technical assistance or consultation on the

Department’s efforts to implement the requirements of the Nunez Court Orders, (2) permit the

Department to request the Monitor provide a written response to a request regarding the

Department’s compliance with the Nunez Court Orders, and (3) requires the Department to




                                                 1
proactively consult with the Monitor on any policies or procedures that relate to the compliance

with the Nunez Court Orders in order to obtain the Monitor’s feedback on these initiatives.

Given these requirements, the Monitoring Team responded today to the Commissioner’s request

with a letter outlining its assessment and concerns regarding City Council Bill 549-A. 1 Please

advise if the Court would benefit from any further details regarding the information that has been

heretofore exchanged.

                                Sincerely,

                                                 s/ Steve J. Martin
                                                 Steve J. Martin, Monitor
                                                 Anna E. Friedberg, Deputy Monitor




1
 The Monitor has addressed similar issues in the past. See, for example, the Monitor’s March 5, 2018
Report (dkt. 309), the Monitor’s October 31, 2018 (dkt. 319) letter to the Court, and the Monitor’s June
30, 2022 Report (dkt. 467) at pgs. 22 to 27.




                                                    2
